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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

                                       ORDER




        In order to give the Court time to consider the matter, unless
otherwise ordered by the Court, the petitioner shall not be moved outside the
District of Massachusetts without providing the Court 48 hours' advance notice
of the move and the reason therefor. Any such 48−hour notice period shall
commence at the date and time such notice is filed and expire 48 hours later,
except "[i]f the period would end on a Saturday, Sunday, or legal holiday,
the period continues to run until the same time on the next day that is not
a Saturday, Sunday, or legal holiday." Fed. R. Civ. P. 6(a)(2)(C).


                                                             /s/ − William G. Young

     Dated: December 11, 2024                             U.S. DISTRICT COURT JUDGE
